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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION




  MELISSA CARSON,
  Individually and on behalf of all others
  similarly situated,

                       Plaintiff,                       CIVIL ACTION FILE

  vs.                                                   NO. 1:21-CV-4715-TWT

  THE HOME DEPOT, INC.,

                       Defendant.


                                     JUDGMENT

        This action having come before the court, Honorable Thomas W. Thrash, Jr.,

United States District Judge, for consideration of defendant’s Corrected Motion To

Compel Arbitration or, in The Alternative, to Dismiss Plaintiff's First Amended Class

Action Complaint, and the court having GRANTED in part and DENIED in part said

motion, it is

        Ordered and Adjudged that the action be, and the same hereby is, dismissed.

Dated at Atlanta, Georgia, this 26th day of July, 2022.

                                                          KEVIN P. WEIMER
                                                          CLERK OF COURT

                                                  By:     s/J. Arnold
                                                           Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
July 26, 2022
Kevin P. Weimer
Clerk of Court

By:     s/J. Arnold
        Deputy Clerk
